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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION

Robert Hipps,                      )
                                   )
                Plaintiff,         )
                                   )
           -vs-                    )      No. 21-cv-
                                   )
Thomas Dart, Sheriff of Cook       )
County, and Cook County, Illinois, )
                                   )
                                   )
                Defendants.        )

                               COMPLAINT

      Plaintiff Robert Hipps, by counsel, alleges as follows:

      1.   This is a civil action arising under Section 202 of the Americans

with Disabilities Act, 42 U.S.C. §12132. The jurisdiction of this Court is

conferred by 42 U.S.C. §12133.

      2.   Plaintiff Robert Hipps was processed into the Cook County

Department of Corrections (CCDOC) on October 27, 2019 and assigned

booking number 2019-1027024.

      3.   Defendant Thomas Dart is the Sheriff of Cook County. Under

Illinois law, the Sheriff is responsible for prisoners remanded to his

custody.

      4.   Defendant Cook County, in collaboration with the Sheriff, is

responsible for accommodating the needs of disabled prisoners remanded

to the Sheriff of Cook County. Defendant Cook County is also a necessary
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party in this action pursuant to Carver v. Sheriff of LaSalle County, 324

F.3d 947 (7th Cir. 2003).

         5.   Plaintiff suffers from sleep apnea. This condition substantially

limits plaintiff’s ability to engage in the program or activity of sleeping.

About two years before entering the Jail plaintiff started using a C-PAP

machine at all times when sleeping.

         6.   With the use of a C-PAP machine, the plaintiff is able to

participate in the program or activity of sleeping similar to a non-disabled

person.

         7.   Since 2014, the defendants have been on notice of a need to

take steps to accommodate detainees who use C-PAP machines. In 2014,

for example, the defendants were told by the Justice Department to retrofit

certain rooms with electrical outlets for C-PAP users. The defendants,

however, have failed to take reasonable steps accommodate C-PAP

users.

         8.   While detained at Cook County Jail, the defendants have

substantially restricted plaintiff’s access to the C-PAP machine. For

example, the defendants do not allow plaintiff to use his C-PAP machine

from about 8:00 am until 9:00 pm. Similarly situated non-disabled

detainees are permitted to engage in the program or activity of sleeping

during this period.

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      9.    In addition, from March 2020 to approximately March 26, 2021,

the defendants did not allow plaintiff to use a C-PAP to engage in the

program or activity of sleeping.

      10. When plaintiff attempts to sleep without a C-PAP machine he

experiences headaches, gasps for air, and constantly feels tired.

      11. Plaintiff has requested, in writing, for defendants to provide a C-

PAP machine when he engages in the program or activity of sleeping. The

defendants, however, refuse to accommodate plaintiff.

      12. Defendants have been and continue to be deliberately

indifferent to plaintiff’s rights under the ADA.

      13. Plaintiff hereby requests trial by jury on his claim for damages.

      It is therefore respectfully requested that the Court fashion

appropriate injunctive relief, grant appropriate compensatory damages and

that the Court grant whatsoever other relief as may be appropriate,

including an award of attorney’s fees and costs.

                                    /s/ Patrick W. Morrissey
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